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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           WESTERN DIVISION

 DR DISTRIBUTORS, LLC,

             Plaintiff-Counterdefendant,

                     v.

 21 CENTURY SMOKING, INC., and
 BRENT DUKE,                                                No. 3:12-cv-50324

          Defendants-Counterclaimants,                   HON. IAIN D. JOHNSTON

                     v.

 CB DISTRIBUTORS, INC., and CARLOS
 BENGOA,

                      Counterdefendants.


                     MEMORANDUM OPINION AND ORDER

       After the Court entered action terminating sanctions, Plaintiff filed a post-

judgment motion under Rules 59(e) and 60(b). Dkt. 631. In this motion, Plaintiffs

seek a slew of items of relief, including (1) that the judgment be amended to reflect

that the judgment is joint and several, (2) injunctive relief, (3) statutory damages,

and (4) even more attorneys’ fees (this time under the Lanham Act’s “exceptional”

case provision). Dkt. 631. 1 Defendants responded with a simple, barely two-page

filing, reasonably stating that there were issues that needed to be resolved and

requesting a telephonic status “to identify the specific issues to be decided and how


1 Plaintiff also asked for judgment against one of Defendants’ prior counsel.In its reply, it
noted that this prior Defense counsel and it had resolved their issues and that the matter
was moot.
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to best proceed.” Dkt. 648, at 2. Consistent with the history of this case, Plaintiff

then filed a five-page reply, adding to their list of demands that default judgment be

entered in favor of CB Distributors, too. Dkt. 649, at 4.

      The Court agrees with Defendants’ counsel that a telephonic status to

identify specific issues and the best process to address those identified issues is the

best course of action. So, the Court sets this action for a telephonic status on June

5, 2025, at 1:30 p.m. To orient the parties for this telephonic status, the Court notes

two related points.

      First, the Court has already found that Defendants are unable to pay a

judgment. Indeed, this was one of the bases Plaintiff asserted to obtain the default

judgment. What’s more, in this motion, Plaintiff stipulates that, “Defendants have

no plan to pay and are unlikely to ever pay the Monetary Judgment already entered

against them, let alone any judgment on the monetary claims that still need to be

adjudicated. . .” Dkt. 649, at 2. But, undeterred by that reality, Plaintiff seeks

monetary damages and even more attorneys’ fees. The attempt to obtain attorneys’

fees under the Lanham Act seems particularly peculiar given that Plaintiff must

establish that the case was “exceptional.” See Madison St. Prop., LLC v. Marcus

Corp., No. 20 CV 50471, 2023 U.S. Dist. LEXIS 160196, at *3 (Sept. 11, 2023)

(noting that attorneys’ fees are discretionary when the case is exceptional). The

Court assumes Plaintiff will seek attorneys’ fees by asserting that the Defendants

unreasonably litigated the case. See Lho Chi. River, L.L.C. v. Rosemoor Suites,

LLC, 988 F.3d 962, 964 (7th Cir. 2021). Given that the Court has already entered



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default judgment against Defendants for not paying attorneys’ fees for essentially

unreasonable litigation actions, seeking even more unrecoverable fees for the same

conduct seems like a poor use of resources for all involved.

      Second, and relatedly, seeking statutory damages—however calculated—

against admittedly judgment-proof defendants again seems like a poor use of

resources. This is particularly true because Plaintiff will expend even more funds

in pursuing this fool’s errand. And if history is any guide, Plaintiff’s counsel will

litigate this issue with full vigor, regardless of the inevitable lack of financial

recovery. Whether it is a stone, rock, or turnip one attempts to squeeze to obtain

blood, the result is the same: You won’t get it. See McCown v. Samsung SDI Co.,

22-cv-976, 2022 U.S. Dist. LEXIS 209786, at *6 (C.D. Cal. Nov. 17, 2022) (turnip);

Bd. of Trs. v. Del Valley Sign Corp., 945 F. Supp. 2d 649, 651 (E.D. Va. 2013)

(stone); Muirhead v. Zucker, 726 F. Supp. 613, 614 (W.D. Pa. 1989) (rock).

      Counsel for the parties are ordered to confer regarding what issues can be

resolved before the telephonic status.




Entered: May 19, 2025                           By:___________________________
                                                Iain D. Johnston
                                                U.S. District Judge




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